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                 IN




BENE. KEITH, co.'                    §
D/B/A BENE. KEITH FOODS,             §
                                     §
            Plaintiff,               §
                                     §
vs.                                  §   NO. 4:20-CV-133-A
                                     §
DINING ALLIANCE, INC.,               §
                                     §
            Defendant.               §



                      MEMORANDUM OPINION AND ORDER

      Came on for consideration (1) the motion of plaintiff, Ben

E. Keith Co. d/b/a Ben E. Keith Foods, to dismiss all claims

asserted by defendant Buyers Edge Platform, LLC ("Buyers Edge"),

and the claims asserted by defendant Dining Alliance, LLC,

("DA"),   in Counts III, IV, and V of its second amended

counterclaim, and (2) the motion of counterclaim defendant,

Foodbuy, LLC ("Foodbuy"), to dismiss all claims asserted by

Buyers Edge against it and the claims asserted by DA in Count II

for breach of the non-solicitation provision of the settlement

agreement between them, and in Counts III, IV, and V. The court,

having considered the motions, the responses, the replies, the

record, and applicable authorities, finds that the motions

should be granted in part.
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                                        I.

                                The Counterclaim

         The operative affirmative pleading of defendants DA and

Buyers Edge is their second amended counterclaim filed October

15, 2021. Doc.' 90. In it, DA asserts a claim for breach of

contract against plaintiff (Count I), and a claim for breach of

contract against Foodbuy (Count II). DA and Buyers Edge assert

claims against plaintiff and Foodbuy for tortious interference

with contractual or advantageous business relations (Count III),

common law unfair competition (Count IV), and punitive damages

    (Count V). DA also seeks to recover attorney's fees from

plaintiff (Count VI). DA and Buyers Edge also seek injunctive

relief.

         Paraphrasing the description given in the court's March 12,

2021 memorandum opinion and order granting an earlier motion to

dismiss, and taking into account the amended pleadings, the

current allegations are:

         DA operates a group purchasing organization for retail

dining and food service establishments, providing its members

the ability to purchase high quality supplies,             inventory, and

equipment at significant savings by aggregating members'



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    The "Doc.   "reference is to the number of the item on the docket in this
action.
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purchasing requirements and leveraging those requirements to

secure rebates and favorable pricing. Its clients apply to be

members by submitting a letter of participation. They can

terminate their membership by giving 90 days' written notice,

referred to as a letter of termination ("LOT").

     Plaintiff is a distributor of food, beverages, and related

products and services. On May 13, 2013, plaintiff and DA entered

into a purchase agreement pursuant to which DA's members could

purchase goods and services from plaintiff and plaintiff's

customers could become members of DA. The contract was for a

term of five years, but would renew for consecutive one-year

periods unless sooner terminated on 120-days' written notice.

Thousands of restaurants enrolled as members of DA who also made

purchases through plaintiff.

     Starting in 2011, Foodbuy served as DA's rebate processor.

Pursuant to a service agreement, Foodbuy was DA's exclusive

agent for contracting with food manufacturers and suppliers for

rebates and pricing on products for DA's members. Foodbuy

received proof of purchase records through DA from its members

and distributors like plaintiff. This reporting was required for

Foodbuy to obtain rebates and special pricing. In August 2018,

DA and Foodbuy entered into a confidential settlement and

release agreement to wind down their relationship. Pursuant to

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the agreement, if Foodbuy received a LOT by one of DA's members,

it would provide written notice along with a copy of the LOT

signed by the member to DA by overnight delivery or personal

delivery and by email to DA's general counsel. If notice was not

provided as required, Foodbuy could not invoice manufacturers

for rebates using that member's purchase data.

     Plaintiff gave notice to DA that the agreement between them

would terminate August 31, 2018. Prior to that time, plaintiff

requested, and DA provided, confidential information regarding

its members. Such information was gathered in preparation to

solicit DA's members to terminate their relationship with DA and

to join a newly-created group purchasing organization, Unity

Advantage Group, LLC ("UAG"), which also obtained rebates and

special pricing, and of which plaintiff was a member and owner.

Acting in concert with UAG and Foodbuy, plaintiff approached DA

members and told them that     (1) it would no longer provide

reporting to DA;   (2) DA had gone out of business and was "out"

at plaintiff;   (3) if the customer wanted access to deviated

pricing and rebates, it must terminate its DA membership and

sign up with UAG; and (4)    if the member did not terminate DA,

plaintiff would no longer deliver to that member.

     Starting in September 2018, DA received emails attaching

LOTS from its members. DA discovered that plaintiff had been

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signing the LOTS and signing DA's members up as members of UAG,

often without the members' knowledge. Many members were coerced

by plaintiff to terminate their DA memberships under the false

belief that rebates could not be secured through DA any longer

and/or due to the threat that plaintiff would stop delivering to

their restaurants. DA notified plaintiff that its membership

terms required that it be provided the LOTs 90 days before

termination would be effective.

         Plaintiff and DA engaged in litigation, which settled in

April 2019. The settlement agreement included limited releases

for Foodbuy and UAG. It also provided that plaintiff would send

certain member purchase data in exchange for which DA would pay

a monthly administrative fee. Unbeknownst to DA, plaintiff began

sending LOTs to UAG and/or Foodbuy instead of DA, thus enabling

them to obtain rebates that belonged to DA. Plaintiff also

failed to provide member purchase data as it was required to do.

                                                       II.

                                      Grounds of the Motions

        As set forth in the first paragraph above, plaintiff and

Foodbuy maintain that defendants have not sufficiently pleaded

their claims. 2


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  DJ\ and Buyers Edge argue that Foodbuy should not be allowed to pursue a successive motion for failure to state a
claim. Doc. 127 at 7-9. The law in the Fifth Circuit is otherwise. Doc v. Colombia-Brazoria Indep. Sch. Dist., 855
F.3d 681,686 (5th Cir. 2017).
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                                   III.

                      Pertinent Legal Principles

     The pertinent legal principles regarding pleading were set

forth in the court's March 12, 2021 memorandum opinion and order

and need not be repeated here.

     Pertinent legal principles regarding choice of law are as

follows:

     Because the case is before the court on the basis of

diversity of citizenship, the court applies the choice of law

rules of Texas, the forum state. Klaxon Co. v. Stentor Elec.

Mfg. Co., 313 U.S. 487, 496-97      (1941); Stuart v. Spademan, 772

F.2d 1185, 1195 (5th Cir. 1985).

     Texas recognizes the "party autonomy rule" whereby parties

to a contract can agree to be governed by the law of another

state. Exxon Mobil Corp. v. Drennen, 452 S.W.3d 319, 324           (Tex.

2014). In that regard, it applies the Restatement          (Second) of

Conflict of Laws ("Restatement") § 187, which provides in

pertinent part:

     (2) The law of the state chosen by the parties to
     govern their contractual rights and duties will be
     applied, even if the particular issue is one which the
     parties could not have resolved by explicit provision
     in their agreement directed to that issue, unless
     either




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     (a) the chosen state has no substantial relationship
     to the parties or the transaction and there is no
     other reasonable basis for the parties' choice, or

     (b) application of the law of the chosen state would
     be contrary to a fundamental policy of a state which
     has a materially greater interest than the chosen
     state in the determination of the particular issue and
     which, under the rule of§ 188, would be the state of
     applicable law in the absence of an effective choice
     of law by the parties.

Id. at 324-25. Although •substantial relationship" is not

defined, Texas holds the parties to their choice when the state

of the chosen law has a sufficiently close relationship to the

parties and the contract as to make the parties' choice

reasonable. Id., 452 S.W.3d at 325. Unless the chosen law has no

substantial relationship with the parties or unless there is a

state with a materially greater interest in the dispute and

applying the chosen law would be against the fundamental policy

of the state with such materially greater interest, Texas will

enforce the choice of law provision. Bay Cities Recovery,           Inc.

v. Digital Recognition Network, Inc., No. 4:18-CV-280-A, 2018 WL

4903233, at *3   (N.D. Tex. Oct. 5, 2018); Blue Racer Midstream,

LLC v. Kelchner, Inc., No. 3:16-CV-3296-K, 2018 WL 993781, at *4

(N.D. Tex. Feb. 21, 2018). The burden is on the party asserting

that the choice of law provision should not be enforced. Bay

Cities, 2018 WL 4903233, at *3.



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     If the chosen state has a substantial relationship to the

parties and transaction, the court considers whether the

exception of Restatement§ 187(2) (b) applies. Exxon Mobil, 452

S.W.3d at 325. The first step of this analysis is to determine

which state has the most significant relationship with the

parties and their transaction. If that state is Texas, the court

need not go further and the Texas choice of law provision will

apply. Id. at 326-27.

     The most significant relationship determination is made by

examining which state's law would apply under the rule of

Restatement§ 188 in the absence of an effective choice of law

provision. Section 188 refers to the principles of Restatement

§ 6 and says that the contacts to be taken into account in

applying those principles are (a) the place of contracting,            (b)

the place of negotiation of the contract,           (c) the place of

performance,   (d) the location of the subject matter of the

contract, and (e) the domicile, residence, nationality, place of

incorporation and place of business of the parties. Thus, the

court starts with the contacts and then evaluates them in light

of the principles enumerated in section 6. Chesapeake Operating,

Inc. v. Nabors Drilling USA,     Inc., 94 S.W.3d 163, 170-77 (Tex.

App.-Houston [14th Dist.]    2002, no pet.).



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     The Restatement§ 6 principles are:

     (1) A court, subject to constitutional restrictions,
     will follow a statutory directive of its own state on
     choice of law.

     (2) When there is no such directive, the factors
     relevant to the choice of the applicable rule of law
     include
           (a} the needs of the interstate and international
          systems,
           (b} the relevant policies of the forum,
           (c} the relevant policies of other interested
          states and the relative interests of those
          states in the determination of the
          particular issue,
           (d} the protection of justified expectations,
           (e} the basic policies underlying the particular
          field of law,
           (f} certainty, predictability and uniformity of
          result, and
           (g} ease in the determination and application of
          the law to be applied.

     As for conflicts cases sounding in tort, Texas applies the

"most significant relationship" test.as set forth in sections 6

and 145 of the Restatement. Gutierrez v. Collins, 583 S.W.2d

312, 318   (Tex. 1979). Section 145 is similar to section 188,

stating that the contacts to be taken into account include:

      (a} the place where the injury occurred,
      (b} the place where the conduct causing the injury
     occurred,
      (c} the domicile, residence, nationality, place of
     incorporation and place of business of the parties,
     and
     (d} the place where the relationship, if any, between
     the parties is centered.




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                                                        IV.

                                                   Analysis

A.       Choice of Law

         In response to the motions to dismiss, DA and Buyers Edge

raise for the first time the contention that Massachusetts,

rather than Texas, law should apply.' They have not pleaded any

facts other than purported citizenship, however,                                        to support the

application of another state's law.'

         Here,      the settlement agreement between plaintiff and DA

provides that Texas law will apply. Under the heading "Governing

Law,• the parties agreed:

         This Agreement is made and performable in Tarrant
         County, Texas, and shall be governed by, construed,
         interpreted, and enforced in accordance with the laws
         of the State of Texas, excluding any conflict-of-laws
         principles.

Doc. 142-1 at 7. 5 Texas has a substantial relationship to the

parties, because plaintiff is a Texas citizen, having its

principal place of business here. And, Texas has a strong

interest in enforcing its residents' contracts. TransPerfect

Translations,            Inc. v. Leslie, 594 F. Supp. 2d 742,                              751     (S.D.



3
  In response to an earlier motion to dismiss filed by Foodbuy, DA cited Texas law in arguing that it had stated a
claim for tortious interference. Doc. 61 at 8-10. Likewise, DA relied on Texas law in opposing plaintiffs motion for
preliminary injunction. Doc. 31.
4
  The court is considering whether the urging of this argument violates Rule 11 of the Federal Rules of Civil
Procedure.
5
  The settlement agreement between DA and Foodbuy provides that it is governed by North Carolina law. Doc. 116
at 9, 1 13, but the parties have apparently abandoned any argument that North Carolina law applies.
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    Tex. 2009). That the parties' relationship is centered in Texas

    is apparent from all of the papers filed in the case and in the

    earlier litigation.              See     No. 4:18-CV-881-0. In each case, DA

affirmatively asserted claims under Texas law. Doc. 90, 11 72,

    74,   76; No. 4:18-CV-881-0, Doc. 16,                          11 51, 53, 55. In addition,

    the court notes that the original contract between plaintiff and

DA contained a choice of law provision stating that the

agreement would be governed by Texas law. No. 4:18-CV-881-0,

Doc. 16-2,           1   19. There is simply no reason to believe that any

other state has a more significant relationship with the parties

and transaction than Texas.' As the tort claims arise out of the

alleged breach of contract, again Texas has the most significant

relationship to the claims asserted.

B.        Breach of Non-solicitation Provision

          Foodbuy contends that DA has failed to state a viable claim

for breach of the non-solicitation provision in their settlement

agreement. DA responds, and the court agrees, that DA has not

asserted such a claim. Rather, DA alleges in the second amended

counterclaim that Foodbuy has breached the settlement agreement

by failing to comply with the provisions for notice of




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 There are no pleadings to supp01i any contention that significant activities related to the claims took place
anywhere other than Texas.
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terminations prior to invoicing manufacturers on DA's members'

purchases. Doc. 90,    1   63.

C.   Tortious Interference

     To state a claim for tortious interference with an existing

contract, the plaintiff must allege:          (1) the existence of a

valid contract,    (2) an act of interference that was willful and

intentional,   (3) the interference was a proximate cause of

damages, and (4) actual damages or loss occurred. Mumfrey v. CVS

Pharmacy, Inc., 719 F.3d 392, 402          (5th Cir. 2013); Prudential

Ins. Co. of Am. v. Fin. Review Servs., Inc., 29 S.W.3d 74, 77

(Tex. 2000). To state a claim for tortious interference with

prospective contractual relations, the plaintiff must allege:

(1) a reasonable probability that the parties would have entered

into a contractual relationship,          (2) an independently tortious

or unlawful act by the defendant that prevented the relationship

from occurring,    (3) the defendant did such act with a conscious

desire to prevent the relationship from occurring, or knew that

the interference was certain or substantially certain to occur

as a result of defendant's conduct, and (4) plaintiff suffered

actual harm or damage as a result of the interference. Baty v.

ProTech Ins. Agency, 63 S.W.3d 841, 860          (Tex. App.-Houston [14th

Dist.]   2001, pet. denied).



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     The second amended counterclaim does not allege facts

sufficient to state claims for tortious interference with

contract or prospective business relations of Buyers Edge. As

for contractual relationships, counterclaimants point only to

the conclusory allegation o f , 67 that they "enjoy advantageous

business and/or contractual relationships with DA's members." Of

course, one who is not a party to a contract cannot assert a

claim for tortious interference. Baisden v. I'm Ready Prods.,

Inc., 693 F.3d 491, 509-10 (5th Cir. 2012). No facts are alleged

to show that Buyers Edge had any contractual relationship with

DA's members or any relationship with them that would have

continued or new relationships that would have formed. That

Buyers Edge is DA's purported parent company is irrelevant. See

Jaffer v. Standard Chartered Bank, 301 F.R.D. 256, 262          (N.D.

Tex. 2014); R&M Mixed Beverage Consultants, Inc. v. Safe Harbor

Benefits, Inc., 578 S.W.3d 218, 229 (Tex. App.-El Paso 2019, no

pet.). Because Buyers Edge has not pleaded a claim for tortious

interference of any kind, neither does it have a claim for

unfair competition. See Schoellkopf v. Pledger, 778 S.W.2d 897,

904-05   (Tex. App.-Dallas 1989, writ denied). And, without a

claim for actual damages, Buyers Edge does not have a claim for

punitive damages.



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     As for the claims asserted by DA against plaintiff and

Foodbuy for tortious interference, DA has only alleged that they

tortiously interfered with existing contracts (or relationships)

with its members. It does not even address the grounds of the

motions directed to tortious interference with prospective

relations under Texas.law. Doc. 128; Doc. 127.

     The court is satisfied that the remaining claims have been

sufficiently pleaded.

                                    V.

                                  Order

     For the reasons discussed herein,

     The court ORDERS that the motions to dismiss be, and are

hereby, granted in.part, and the claims       (1) asserted by Buyers

Edge against plaintiff and Foodbuy, and (2) asserted by DA for

tortious interference with prospective business relations be,

and are hereby, dismissed.

     The court further ORDERS that the motions to dismiss be,

and are hereby, otherwise denied.

     The court determines that there is no just reason for delay

in, and hereby directs, entry of final judgment as to the




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dismissal of the claims asserted by Buyers Edge.

     SIGNED December 14, 2021.




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